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                                    No. 23-10362

              United States Court of Appeals
                          for the
                      Fifth Circuit
ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF PRO-
     LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
 PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.; GEORGE
                                     DELGADO, M.D.,
                                                               Plaintiffs-Appellees,
                                            – v. –
 FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of Food
  and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal Deputy
Commissioner, U.S. Food and Drug Administration; PATRIZIA CAVAZZONI, M.D., in
  her official capacity as Director, Center for Drug Evaluation and Research, U.S. Food
   and Drug Administration; UNITED STATES DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; XAVIER BECERRA, Secretary, U.S. Department of Health and
                                      Human Services,
                                                               Defendants-Appellants,
                                            – v. –
                            DANCO LABORATORIES, L.L.C.,
                                                               Intervenor-Appellant.
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF TEXAS
                      CASE NO. 2:22-cv-00223


MOTION FOR LEAVE TO FILE BRIEF OF 240 MEMBERS OF CONGRESS AS
    AMICUS CURIAE IN SUPPORT OF DEFENDANTS-APPELLANTS’
       EMERGENCY MOTION FOR A STAY PENDING APPEAL

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                Counsel for Amicus Curiae 240 Members of Congress
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      Pursuant to Federal Rule of Appellate Procedure 29(a)(3) and Fifth Circuit

Rule 29.1, Movants, 240 Members of Congress (see Appendix for Amici),

respectfully move this Court for leave to file a brief as amici curiae in support of

defendants-appellants’ motion to stay the district court’s order staying FDA’s

September 28, 2000, Approval of mifepristone and other challenged agency

actions. A copy of the proposed brief has been submitted with this motion. All

parties have consented to the filing of this brief of a length up to 5,200 words.


I.    INTEREST OF THE MOVANTS

      Movants are 240 Members of Congress—50 Senators and 190 Members of

the House of Representatives. Movants have a special interest in both upholding

the Constitution’s separation of powers—among other things, by ensuring that

federal administrative agencies are able to faithfully exercise the authorities

Congress delegated to them by statute without undue judicial interference—and

protecting the physical health and safety of their constituents.


II.   MOVANTS’ BRIEF IS USEFUL TO THE DISPOSITION OF THE
      ISSUES BEFORE THE COURT

      As members of Congress, Movants can contribute to informed consideration

of the questions before this Court, including Congressional intent with respect to

the legislatively mandated drug approval process. First, Movants’ proposed brief

explains Congress’s clear intent in designating the U.S. Food and Drug

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Administration (“FDA”) as the expert federal agency with authority to review and

approve drug applications, and shows that allowing federal courts to substitute

their own judgments for the expert conclusions of FDA’s scientists, as the district

court did here, would be contrary to that intent. Second, the proposed brief

outlines Movants’ specific concerns about the manner in which the district court’s

unprecedented remedy undermines the public interest. These concerns include

disruption of a science-based drug approval process on which both patients and

pharmaceutical developers rely. The brief also addresses the ways in which the

district court’s order will exacerbate an already significant reproductive health

crisis. As duly elected legislative representatives of affected individuals and

communities, amici are uniquely situated to inform the court on matters relevant to

its decision to stay the district court’s extraordinary decision pending appeal.


                                      CONCLUSION
      Based on the foregoing, Movants respectfully request that this Court grant

this motion for leave to file a brief as amici curiae of no more than 5,200

       words in support of defendants-appellants’ emergency motion for a stay

pending appeal and accept for filing the amici curiae brief submitted

contemporaneously with this motion.




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Dated: April 11, 2023                  Respectfully submitted,
       New York, New York
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             CERTIFICATE OF ELECTRONIC COMPLIANCE

      I certify that on April 11, 2023, this motion was transmitted to Mr. Lyle W.

Cayce, Clerk of the U.S. Court of Appeals for the Fifth Circuit, through the court’s

CM/ECF document-filing system, https://efc.ca5.uscourts.govt.

      I further certify that: (1) required privacy redactions have been made, 5th

Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper

document, 5th Cir. R. 25.2.1; and (3) the document has been scanned with the most

recent version of a commercial virus scanning program and is free of viruses.



Dated: April 11, 2023
       New York, New York                     _s/ Boris Bershteyn______________
                                              Boris Bershteyn
                                              Counsel for Amici Curiae




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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal Rules of

Appellate Procedure 27(d)(2)(A) because the brief contains 396 words, excluding

the parts of the brief exempt by Federal Rule of Appellate Procedure 27(a)(2)(B)

and 32(f).

      This motion complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Times New Roman font.



Dated: April 11, 2023
       New York, New York                 _s/ Boris Bershteyn______________
                                          Boris Bershteyn
                                          Counsel for Amici Curiae




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                         CERTIFICATE OF SERVICE

      I hereby certify that I e-filed the foregoing with the Clerk of the Court for

the United States Court of Appeals for the Fifth Circuit by using the appellate

CM/ECF system on April 11, 2023. I further certify that the participants in the

case are CM/ECF users and that service will be accomplished by using the

appellate CM/ECF system.



 Dated: April 11, 2023
        New York, New York                    _s/ Boris Bershteyn______________
                                              Boris Bershteyn
                                              Counsel for Amici Curiae




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